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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
ACTING UNITED STATES TRUSTEE, REGION 3
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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY

______________________________
                              :              Case No. 17-16543 (MBK)
In re                         :              Chapter 7
                              :
Linda Gerber,                 :              The Honorable Michael B. Kaplan
                              :
                              :              Hearing Date: July 24, 2017, at 10:00 a.m.
Debtor.                       :
______________________________:

    NOTICE OF MOTION BY THE ACTING UNITED STATES TRUSTEE FOR AN
   ORDER EXTENDING TIME TO FILE A MOTION TO DISMISS CASE UNDER 11
    U.S.C. §§ 707(b)(1) AND (3) AND EXTENDING TIME TO FILE A COMPLAINT
                OBJECTING TO DISCHARGE UNDER 11 U.S.C. § 727

TO: ALL PERSONS ON ATTACHED CERTIFICATE OF SERVICE

        PLEASE TAKE NOTICE that the Acting United States Trustee, by and through

counsel, shall move before The Honorable Michael B. Kaplan, United States Bankruptcy Judge,

on July 24, 2017, at 10:00 a.m., or as soon thereafter as counsel may be heard, at the United

States Bankruptcy Court, 402 East State Street, Trenton, New Jersey, pursuant to Federal Rules

of Bankruptcy Procedure 1017(e)(1) and 4004, for an Order Extending Time to File a Motion to

Dismiss Case Under 11 U.S.C. §§ 707(b)(1) and (3) and Extending Time to File a Complaint

Objecting to Discharge Under 11 U.S.C. § 727, and for such other and further relief as the Court

deems just and appropriate.
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       PLEASE TAKE FURTHER NOTICE that the Acting United States Trustee shall rely

upon the Certification submitted herewith.   Because no novel, unique, or complicated issues of

law are presented, no brief has been filed pursuant to D.N.J. LBR 9013-1(a)(3).

       PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Motion

must be filed with the Court and served upon the Acting United States Trustee no later than 7

days in advance of the hearing date pursuant to D.N.J. LBR 9013-2(a)(2).    If no opposing

papers are filed and served within the required time, the Motion shall be decided on the papers

pursuant to D.N.J. LBR 9013-3(d) and an Order Extending Time to File a Motion to Dismiss

Case Under 11 U.S.C. §§ 707(b)(1) and (3) and Extending Time to File a Complaint Objecting to

Discharge Under 11 U.S.C. § 727 may be signed and entered in the Court’s discretion.

       PLEASE TAKE FURTHER NOTICE that pursuant to D.N.J. LBR 9013-3(d) oral

argument may only be presented by a party that has filed opposition to the Motion.


                                             ANDREW R. VARA
                                             ACTING UNITED STATES TRUSTEE
                                             REGION 3


                                     By:     /s/Michael A. Artis
                                             Michael A. Artis
                                             Trial Attorney


DATED: June 29, 2017
